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                               UNITED STATES DISTRICT COURT FOR THE
                                NORTHERN DISTRICT OF OKLAHOMA
    STATE OF OKLAHOMA, et al.,
                                             Plaintiffs,
        v.                                                       No. 4:05-cv-329-GKF-SH
    TYSON FOODS, INC., et al.,
                                           Defendants.

                  PLAINTIFFS’ UNOPPOSED MOTION FOR STATUS CONFERENCE

             Plaintiffs, the State of Oklahoma, ex rel. Gentner F. Drummond, in his capacity as Attorney

   General of the State of Oklahoma; State of Oklahoma; and Oklahoma Secretary of Energy and

   Environment Ken McQueen, in his capacity as the trustee for natural resources for the State of

   Oklahoma (“State” or “Oklahoma”), respectfully request this Court enter an order setting this case

   for a status conference on the afternoon of March 17, 2023. In support, the State submits the

   following:

             1.      On January 18, 2023, this Court entered its Findings of Fact and Conclusions of Law,

   Doc. 2979, “find[ing] in favor of the State and against defendants on the State’s claims of statutory

   public nuisance, federal common law nuisance, trespass, for violation of 27A Okla. Stat. § 2-6-105,

   and for violation of 2 Okla. Stat. § 2-18.1.” Doc. 2979 at 213.

             2.      In the January 18, 2023 Findings of Fact and Conclusions of Law, this Court ordered

   the parties to “meet and attempt to reach an agreement with regard to remedies to be imposed in this

   action.” Id.

             3.      Furthermore, this Court ordered that “[o]n or before March 17, 2023, [the parties]

   shall advise the court whether they have been able to do so.” Id.

             4.      Pursuant to this Court’s order, the parties are currently engaged in good faith

   deliberations about remedies in an attempt to reach a settlement agreement.

             5.      The State believes that scheduling a status conference on March 17, 2023, will further
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   the interest of judicial economy, aid the parties’ compliance with this Court’s January 18, 2023 order,

   and facilitate the most efficient resolution of this case, including for the following reasons:

                   a. By allowing the parties a pre-scheduled opportunity to meaningfully inform the

                       Court as to whether they have reached an agreement as to remedies on March 17,

                       2023, and as to the details of such an agreement, in the event one is reached.

                   b. By allowing the Court an opportunity to inquire into and “approve[]” the agreed

                       remedies in the event the parties are able to reach a settlement agreement as to

                       remedies. Id.

                   c. By allowing the Court an opportunity to address counsel and inquire into any

                       remaining questions or issues before entering judgment in the event the parties are

                       unable to reach a settlement agreement as to remedies.

           6.      On or about February 21, 2023, Counsel for the State contacted Counsel for

   Defendants concerning this motion. Counsel for the State is authorized to represent that Counsel for

   Defendants does not object to the requested relief.

           For the foregoing reasons, the State respectfully requests that this Court enter an order setting

   this case for a status conference on the afternoon of March 17, 2023.




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                                             Respectfully Submitted,

                                               s/ Garry M. Gaskins, II
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                                             GARRY M. GASKINS, II
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 22nd day of February, 2023, I electronically transmitted the

   foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a

   Notice of Electronic Filing to the ECF registrants with entries of appearance filed of record.



                                                                   s/ Garry M. Gaskins, II




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